      Case 4:07-cv-05944-JST Document 3472-1 Filed 01/23/15 Page 1 of 3




 1 JEROME C. ROTH (State Bar No. 159483)
   jerome.roth@mto.com
 2 HOJOON HWANG (State Bar No. 184950)
   hojoon.hwang@mto.com
 3 MIRIAM KIM (State Bar No. 238230)
   miriam.kim@mto.com
 4 MUNGER, TOLLES & OLSON LLP
   560 Mission Street
 5 Twenty-Seventh Floor
   San Francisco, California 94105-2907
 6 Telephone:     (415) 512-4000
   Facsimile:     (415) 512-4077
 7
   WILLIAM D. TEMKO (State Bar No. 98858)
 8 william.temko@mto.com
   MUNGER, TOLLES & OLSON LLP
 9 355 South Grand Avenue
   Thirty-Fifth Floor
10 Los Angeles, CA 90071-1560
   Telephone:     (213) 683-9100
11 Facsimile:     (213) 687-3702

12 Attorneys for Defendants LG Electronics, Inc.

13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                      SAN FRANCISCO DIVISION
16

17
   IN RE: CATHODE RAY TUBE (CRT)                       Master File No. 3:07-md-05944-SC (N.D. Cal)
18 ANTITRUST LITIGATION                                MDL No. 1917

19 This Document Related to:                           DECLARATION OF CLAIRE YAN AND
                                                       EXHIBITS IN SUPPORT OF
20 Individual Case No. 3:13-cv-2171 (SC),              DEFENDANTS’ REPLY IN SUPPORT OF
   Dell Inc.; Dell Products L.P., v. Philips           JOINT MOTION FOR PARTIAL
21 Electronics North America Corporation et al.;       SUMMARY JUDGMENT AGAINST
                                                       DELL AND SHARP PLAINTIFFS ON
22 Individual Case No. 3:13-cv-01173-SC,               STATUTE OF LIMITATIONS GROUNDS
   Sharp Electronics Corp., et al. v. Hitachi, Ltd.,   – Sealed Exhibits 4-10
23 et al.
                                                       [Reply in Support of Joint Motion for Partial
24 Individual Case No. 3:13-cv-2776 SC,                Summary Judgment filed concurrently]
   Sharp Electronics Corp. et al. v. Koninklijke
25 Philips Elecs., N.V. et al.                         Judge: Hon. Samuel Conti
                                                       Date: February 6, 2015
26                                                     Time: 10:00 A.M.
                                                       Crtrm.: 1, 17th Floor
27

28
     25572038.1                                                     3:07-cv-05944-SC; MDL No. 1917
      DECL. OF CLAIRE YAN AND EXHIBITS ISO DEFS’ REPLY ISO JOINT MOTION FOR PARTIAL SUMMARY
        JUDGMENT AGAINST DELL AND SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS
      Case 4:07-cv-05944-JST Document 3472-1 Filed 01/23/15 Page 2 of 3




 1            I, Claire Yan, hereby declare:

 2            I am an attorney with the law firm Munger, Tolles & Olson LLP, counsel of record for

 3 Defendants LG Electronics, Inc., (“LGE”) in the above entitled action. I am licensed in the State

 4 of California and admitted to practice before this Court. I make this declaration based on my

 5 personal knowledge and, if called upon as a witness, could and would testify competently as to the

 6 matters set forth below.

 7            1.       Attached to this declaration as Exhibit 1 is a true and correct copy of Defendants’

 8 Joint Motion for Partial Summary Judgment Dismissing Best Buy’s (1) Pre-October 8, 2006

 9 Claims as Time Barred and (2) Post-May 2003 Claims for Failure to Mitigate Damages, at 4-5, In

10 re TFT-LCD (Flat Panel) Antitrust Litig., Case No. 3:07-md-01827-SI (N.D. Cal. Aug. 3, 2012),

11 ECF No. 6379.

12            2.       Attached to this declaration as Exhibit 2 is a true and correct copy of Best Buy’s

13 Opposition to Defendants’ Joint Motion for Partial Summary Judgment Dismissing Best Buy’s (1)

14 Pre-October 8, 2006 Claims as Time Barred and (2) Post-May 2003 Claims for Failure to Mitigate

15 Damages, at 12, In re TFT-LCD (Flat Panel) Antitrust Litig., Case No. 3:07-md-01827-SI (N.D.

16 Cal. Aug. 17, 2012), ECF No. 6497.

17            3.       Attached to this declaration as Exhibit 3 is a true and correct copy of Defendants’

18 Reply in Support of Joint Motion for Partial Summary Judgment Dismissing Best Buy’s (1) Pre-

19 October 8, 2006 Claims as Time Barred and (2) Post-May 2003 Claims for Failure to Mitigate

20 Damages at 2-3, In re TFT-LCD (Flat Panel) Antitrust Litig., No. 3:07-md-01827-SI (N.D. Cal.

21 Sept. 14, 2012), ECF No. 6748.

22            4.       Attached to this declaration as Exhibit 4 is a true and correct copy of a Letter

23 from Adam C. Hemlock to Hon. Vaughn R. Walker (Ret.), dated September 3, 2014.

24            5.       Attached to this declaration as Exhibit 5 is a true and correct copy of a Letter

25 from Craig Benson to Hon. Vaughn R. Walker (Ret.), dated January 22, 2015.

26            6.       Attached to this declaration as Exhibit 6 are true and correct copies of excerpts to

27 the deposition of Ayumu Kinoshita, Volume 1, deposed in this case on February 5, 2013.

28
     25572038.1                                         -2-         3:07-cv-05944-SC; MDL No. 1917
      DECL. OF CLAIRE YAN AND EXHIBITS ISO DEFS’ REPLY ISO JOINT MOTION FOR PARTIAL SUMMARY
        JUDGMENT AGAINST DELL AND SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS
      Case 4:07-cv-05944-JST Document 3472-1 Filed 01/23/15 Page 3 of 3




 1            7.       Attached to this declaration as Exhibit 7 are true and correct copies of excerpts to

 2 the deposition of Vincent Sampietro, Volume 1, deposed in this case on June 25, 2014.

 3            8.       Attached to this declaration as Exhibit 8 are true and correct copies of excerpts to

 4 the deposition of Toshihito Nakanishi, Volume 1, deposed in this case on July 29, 2014.

 5            9.       Attached to this declaration as Exhibit 9 are true and correct copies of excerpts to

 6 the deposition of Toshihito Nakanishi, Volume 2, deposed in this case on July 30, 2014.

 7            10.      Attached to this declaration as Exhibit 10 are true and correct copies of excerpts

 8 to the deposition of Martin Garvin, Volume 1, deposed in this case on August 6, 2014.

 9

10            I declare under penalty of perjury under the laws of California that the foregoing is true

11 and correct. Executed on the 23rd day of January, 2015 in Los Angeles, California.

12

13
                                                                          /s/ Claire Yan
14                                                                    CLAIRE YAN
                                                       Attorneys for Defendants LG Electronics, Inc.
15

16

17

18

19

20

21

22

23

24

25

26

27

28
     25572038.1                                         -3-         3:07-cv-05944-SC; MDL No. 1917
      DECL. OF CLAIRE YAN AND EXHIBITS ISO DEFS’ REPLY ISO JOINT MOTION FOR PARTIAL SUMMARY
        JUDGMENT AGAINST DELL AND SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS
